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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

                                                              CASE NO.:
  HOWARD COHAN,

         Plaintiff,

  vs.                                                         INJUNCTIVE RELIEF SOUGHT

  SAKS & COMPANY LLC,
  a Foreign Limited Liability Company,
  d/b/a SAKS FIFTH AVENUE

        Defendant(s).
  ____________________________________/

                                           COMPLAINT

         Plaintiff, HOWARD COHAN (“Plaintiff”), by and through the undersigned counsel,

  hereby files this Complaint and sues SAKS & COMPANY LLC, a Foreign Limited Liability

  Company, d/b/a SAKS FIFTH AVENUE (“Defendant”), for declaratory and injunctive relief,

  attorneys’ fees, expenses and costs (including, but not limited to, court costs and expert fees)

  pursuant to 42 U.S.C. § 12182 et. seq., and the 2010 Americans with Disabilities Act (“ADA”)

  and alleges as follows:

                                  JURISDICTION AND VENUE

         1.      This is a complaint for breach of contract and injunctive relief seeking enforcement

  of the Settlement Agreement (copy attached as Exhibit A) reached in the case of HOWARD

  COHAN v. SAKS & COMPANY LLC, Case No. 9:15-cv-81051-WJZ (S.D. Fla.) (dismissed by

  order upon settlement), which arose out of Plaintiff’s claim of discrimination caused by certain

  barriers encountered by Plaintiff on Defendant’s properties that prevented Plaintiff from the full




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  and equal enjoyment of a place of public accommodation in violation of Title III of the Americans

  with Disabilities Act.

          2.      This Court is vested with original jurisdiction over this action pursuant to 28 U.S.C.

  §§ 1331, 343 for Plaintiff’s claims arising under Title 42 U.S.C. § 12182 et. seq., based on

  Defendants’ violations of Title III of the ADA. See also, 28 U.S.C. §§ 2201, 2202, as well as the

  2010 ADA Standards.

          3.      Venue is proper in this Court, West Palm Beach Division, pursuant to 28 U.S.C. §

  1391(B) and Internal Operating Procedures for the United States District Court for the Southern

  District of Florida in that all events giving rise to the lawsuit occurred in Palm Beach County,

  Florida.

                                                 PARTIES

          4.      Plaintiff, HOWARD COHAN is sui juris and is a resident of the State of Florida

  residing in Palm Beach County, Florida.

          5.      Upon information and belief, Defendant is the lessee, operator, owner and lessor of

  the Real Properties, which are subject to this suit, located at the following addresses: 3109 PGA

  Boulevard, Palm Beach Gardens, Florida 33410 (“Palm Beach Gardens Store”); 9700 Collins

  Avenue, Bal Harbour, Florida 33154 (“Bal Harbour Store”); and 5800 Glades Road, Boca Raton,

  Florida 33431 (“Boca Raton Store” and collectively “Premises”), and is the owner of the

  improvements where Premises are located.

          6.      Defendant is authorized to conduct, and is in fact conducting, business within the

  state of Florida.

          7.      Plaintiff is an individual with numerous permanent disabilities including severe

  spinal stenosis of the lumbar spine with spondylolisthesis; severe spinal stenosis of the cervical




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  spine with nerve root compromise on the right side; a non-union fracture of the left acromion

  (shoulder); a labral tear of the left shoulder; a full thickness tear of the right rotator cuff; a right

  knee medial meniscal tear; a repaired ACL and bilateral meniscal tear of the left knee; and severe

  basal joint arthritis of the left thumb. The above listed permanent disabilities and symptoms cause

  sudden onsets of severe pain and substantially limit Plaintiff’s major life activities. As such,

  Plaintiff suffered from a “qualified disability” under the ADA. 42 U.S.C § 12101, et seq.

          8.       Plaintiff visited Defendant’s Premises on the following dates:

                a. Palm Beach Gardens Store – July 23, 2015

                b. Boca Raton Store – June 22, 2015

                c. Bal Harbour Store – June 15, 2015

          9.       At the time of Plaintiff’s visits to the Premises, Plaintiff required the use of fully

  accessible restrooms. Plaintiff personally visited the Premises, but was denied full and equal access

  and full and equal enjoyment of the facilities, services, goods, and amenities within the Premises,

  even though he was a “bona fide patron”.

          10.      Defendant’s Premises constitute a public accommodation as defined by Title III of

  the ADA and, as such, are governed by the ADA.

          11.      On or about July 28, 2015, Plaintiff filed a lawsuit against Defendant seeking to

  force Defendant to comply with the ADA and applicable regulations thereto. See HOWARD

  COHAN v. SAKS & COMPANY LLC, Case No. 9:15-cv-81051-WJZ (S.D. Fla.).

          12.      On or about October 13, 2015, the parties entered into a Settlement Agreement

  (Exhibit A).

          13.      Thereafter, on October 15, 2015, Plaintiff’s suit was dismissed upon notice to the

  U.S. District Court that the parties had settled.




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          14.      The Settlement Agreement required Defendant to complete all modifications, and

  provide notice of same to Plaintiff, by October 30, 2016.

          15.      Defendant has failed to complete the required modifications to the Premises as

  required by the ADA and the Settlement Agreement, and Defendant has failed to give notice of

  any reasons or documentation for non-compliance.

          16.      Plaintiff again personally visited Defendant’s Premises on the following dates (and

  prior to instituting this action):

                a. Palm Beach Gardens Store – May 23, 2017; September 14, 2018; and December

                   10, 2018

                b. Boca Raton Store – May 13, 2017; April 5, 2018; September 20, 2018; and

                   December 27, 2018

                c. Bal Harbour Store – June 4, 2017; November 1, 2017; December 5, 2018; and

                   December 20, 2018

          17.      Plaintiff again required the use of fully accessible restrooms. Plaintiff was denied

  full and equal access and full and equal enjoyment of the facilities, services, goods, and amenities

  within the Premises, even though was “bona fide patron”.

          18.      Plaintiff, in his individual capacity, has shown that he will absolutely return to the

  Premises and avail himself of the services offered when Defendant modifies the Premises or

  modifies the policies and practices to accommodate individuals who have physical disabilities.

          19.      Plaintiff is continuously aware of the violations at Defendant’s Premises and is

  aware that it would be a futile gesture to return to the Premises as long as those violations exist,

  and Plaintiff is not willing to suffer additional discrimination.




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         20.     Plaintiff has suffered, and will continue to suffer, direct and indirect injury as a

  result of Defendant’s discrimination until Defendant is compelled to comply with the requirements

  of the ADA.

         21.     Plaintiff would like to be able to be a patron of the Premises in the future and be

  able to enjoy the goods and services that are available to the able-bodied public, but is currently

  precluded from doing so as a result of Defendant’s discriminatory conduct as described herein.

  Plaintiff will continue to be precluded from using the Premises until corrective measures are taken

  at the Premises to eliminate the discrimination against persons with physical disabilities.

         22.     Completely independent of the personal desire to have access to this place of public

  accommodation free of illegal barriers to access, Plaintiff also acts as a “tester” for the purpose of

  discovering, encountering and engaging discrimination against the disabled in public

  accommodations. When acting as a “tester”, Plaintiff employs a routine practice. Plaintiff

  personally visits the public accommodation; engages all of the barriers to access, or at least of

  those that Plaintiff is able to access; tests all of those barriers to access to determine whether and

  the extent to which they are illegal barriers to access; proceeds with legal action to enjoin such

  discrimination; and subsequently returns to Premises to verify its compliance or non-compliance

  with the ADA and to otherwise use the public accommodation as members of the able-bodied

  community are able to do. Independent of other subsequent visits, Plaintiff also intends to visit

  the Premises regularly to verify its compliance or non-compliance with the ADA, and its

  maintenance of the accessible features of Premises. In this instance, Plaintiff, in Plaintiff’s

  individual capacity and as a “tester”, visited Premises, encountered barriers to access at Premises,

  and engaged and tested those barriers, suffered legal harm and legal injury, and will continue to

  suffer such harm and injury as a result of the illegal barriers to access and the ADA violations set




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  forth herein. It is Plaintiff’s belief that said violations will not be corrected without Court

  intervention, and thus Plaintiff will suffer legal harm and injury in the near future.

         23.      Plaintiff, in his capacity as a tester, will absolutely return to the Premises when

  Defendant modifies the Premises or modify the policies and practices to accommodate individuals

  who have physical disabilities to confirm said modifications have been completed in accordance

  with the requirements of the ADA.

                                     COUNT I
                 VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT

         24.      Plaintiff adopts and re-alleges the allegations stated in paragraphs 1 through 23

  above as if fully stated herein.

         25.      On July 26, 1990, Congress enacted the Americans With Disabilities Act (“ADA”),

  42 U.S.C. § 12101 et. seq. Commercial enterprises were provided one and a half (1.5) years from

  enactment of the statute to implement its requirements. The effective date of Title III of the ADA

  was January 26, 1992, or January 26, 1993 if Defendant(s) have ten (10) or fewer employees and

  gross receipts of $500,000.00 or less. See 42 U.S.C. § 12182; 28 C.F.R. § 36.508(a).

         26.      Congress found, among other things, that:

               a. some 43,000,000 Americans have one or more physical or mental disabilities, and

                  this number shall increase as the population continues to grow older;

               b. historically, society has tended to isolate and segregate individuals with disabilities

                  and, despite some improvements, such forms of discrimination against disabled

                  individuals continue to be a pervasive social problem, requiring serious attention;

               c. discrimination against disabled individuals persists in such critical areas as

                  employment, housing, public accommodations, transportation, communication,




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                  recreation, institutionalization, health services, voting and access to public services

                  and public facilities;

               d. individuals with disabilities continually suffer forms of discrimination, including

                  outright intentional exclusion, the discriminatory effects of architectural,

                  transportation, and communication barriers, failure to make modifications to

                  existing facilities and practices. Exclusionary qualification standards and criteria,

                  segregation, and regulation to lesser services, programs, benefits, or other

                  opportunities; and,

               e. the continuing existence of unfair and unnecessary discrimination and prejudice

                  denies people with disabilities the opportunity to compete on an equal basis and to

                  pursue those opportunities for which our country is justifiably famous, and accosts

                  the United States billions of dollars in unnecessary expenses resulting from

                  dependency and non-productivity.

  42 U.S.C. § 12101(a)(1)-(3),(5) and (9).

         27.      Congress explicitly stated that the purpose of the ADA was to:

               a. provide a clear and comprehensive national mandate for elimination of

                  discrimination against individuals with disabilities;

               b. provide clear, strong, consistent, enforceable standards addressing discrimination

                  against individuals with disabilities; and

               c. invoke the sweep of congressional authority, including the power to enforce the

                  fourteenth amendment and to regulate commerce, in order to address the major

                  areas of discrimination faced on a daily basis by people with disabilities.

  U.S.C. § 12101(b)(1)(2) and (4).




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          28.     Pursuant to 42 U.S.C. § 12182(7), 28 C.F.R. § 36.104 and the 2010 ADA Standards,

  Defendant’s Premises are places of public accommodation covered by the ADA by the fact they

  provide services to the general public and must be in compliance therewith.

          29.     Defendant has discriminated and continues to discriminate against Plaintiff and

  others who are similarly situated, by denying access to, and full and equal enjoyment of goods,

  services, facilities, privileges, advantages and/or accommodations located at the Premises, as

  prohibited by 42 U.S.C. § 12182 and 42 U.S.C. § 12101 et. seq., and by failing to remove

  architectural barriers pursuant to 42 U.S.C. § 12182(b)(2)(A)(iv).

          30.     Plaintiff has visited the Premises and has been denied full and safe equal access to

  the facilities and therefore suffered an injury in fact.

          31.     Plaintiff would like to return and enjoy the goods and/or services at Premises on a

  spontaneous, full and equal basis. However, Plaintiff is precluded from doing so by the

  Defendant’s failure and refusal to provide disabled persons with full and equal access to their

  facilities. Therefore, Plaintiff continues to suffer from discrimination and injury due to the

  architectural barriers that are in violation of the ADA.

          32.     Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the Department

  of Justice, Office of the Attorney General promulgated Federal Regulations to implement the

  requirements of the ADA. See 28 C.F.R. § 36 and its successor the 2010 ADA Standards ADA

  Accessibility guidelines (hereinafter referred to as “ADAAG”), 28 C.F.R. § 36, under which said

  Department may obtain civil penalties of up to $55,000.00 for the first violation and $110,000.00

  for and subsequent violation.




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          33.      Based on a preliminary inspection of the Premises, Defendant is in violation of 42

  U.S.C. § 12182 et. seq. and the 2010 American Disabilities Act Standards et. seq., and is

  discriminating against Plaintiff as a result of, inter alia, the following specific violations:

          PALM BEACH GARDENS STORE

          First Floor Men’s Restroom

                a. Failure to provide the water closet in the proper position relative to the side wall or

                   partition in violation of 2010 ADAAG §§604 and 604.2.

                b. Failure to provide proper knee clearance for a person with a disability under a

                   counter or sink element in violation of 2010 ADAAG §§306, 306.1 306.3, 606 and

                   606.2.

          Second Floor Restroom

                c. Providing a gate or door with a continuous opening pressure of greater than 5 lbs.

                   exceeding the limits for a person with a disability in violation of 2010 ADAAG

                   §§404, 404.1, 404.2, 404.2.9 and 309.4.

                d. Providing sinks and/or countertops that are greater than the 34 inch maximum

                   allowed above the finished floor or ground in violation of 2010 ADAAG §§606 and

                   606.3.

                e. Failure to provide mirror(s) located above lavatories or countertops at the proper

                   height above the finished floor in violation of 2010 ADAAG §§603 and 603.3.

                f. Failure to provide the water closet in the proper position relative to the side wall or

                   partition in violation of 2010 ADAAG §§604 and 604.2.

                g. Failure to provide the water closet seat at the correct height above the finished floor

                   in violation of 2010 ADAAG §§604 and 604.4.




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           h. Failure to provide proper knee clearance for a person with a disability under a

              counter or sink element in violation of 2010 ADAAG §§306, 306.1 306.3, 606 and

              606.2.

           i. Failure to provide the correct opening width for a forward approach into a urinal,

              stall door or lavatory (sink) in violation of 2010 ADAAG §§305, 305.7.1, 404,

              605.3 and 606.2.

        BOCA RATON STORE

        Men’s Restroom First Floor GENERAL

           a. Providing a gate or door with a continuous opening pressure of greater than 5lbs

              exceeding the limits for person with a disability in violation of 2010 ADAAG §§

              404, 404.1, 404.2, 404.2.9 and 309.4.

           b. Failure to provide a urinal designed for a person with a disability where the rim

              height is no more than 17 inches from the finished floor in violation of 2010

              ADAAG §§605 and 605.2.

           c. Failure to provide proper signage for an accessible restroom or failure to redirect a

              person with a disability to the closest available accessible restroom facility in

              violation of 2010 ADAAG §§216, 216.2, 216.6, 216.8, 603, 703, 703.1, 703.2,

              703.5 and 703.7.2.1.

        Men’s Restroom First Floor ACCESSIBLE STALL

           d. Failure to provide the proper insulation or protection for plumbing or other sharp

              or abrasive objects under a sink or countertop in violation of 2010 ADAAG §§606

              and 606.5.




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           e. Providing grab bars of improper horizontal length or spacing as required along the

              rear or side wall in violation of 2010 ADAAG §§604, 604.5, 604.5.1 and 604.5.2.

           f. Failure to provide the water closet in the proper position relative to the side wall or

              partition in violation of 2010 ADAAG §§604 and 604.2.

        BAL HARBOUR STORE

        Men’s Restroom First Floor GENERAL

           a. Providing a gate or door with a continuous opening pressure of greater than 5lbs

              exceeding the limits for a person with a disability in violation of 2010 ADAAG §§

              404, 404.1, 404.2, 404.2.9, and 309.4.

           b. Failure to provide one urinal designed for a person with a disability where the rim

              height is no more than 17 inches from the finished floor in violation of §§4.18,

              4.18.2, and 4.22.5 of the 1991 ADA Standards.

           c. Failure to provide mirror(s) located above lavatories or countertops at the proper

              height above the finished floor in violation of 2010 ADAAG §§603 and 603.3.

        Men’s Restroom First Floor AMBULATORY STALL

           d. Failure to provide an additional accessible toilet compartment complying with

              604.8.2 when there are 6 or more water closets or urinals in any combination in

              violation of 2010 ADAAG §§213, 213.3 and 213.3.1.

        Men’s Restroom First Floor ACCESSIBLE STALL

           e. Failure to provide flush controls located on the open side of the water closet in

              violation of 2010 ADAAG §§309, 309.4, 604 and 604.6.

           f. Providing grab bars of improper horizontal length or spacing as required along the

              rear or side wall in violation of 2010 ADAAG §§604, 604.5, 604.5.1 and 604.5.2.




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         Family Restroom Second Floor

               g. Failure to provide proper signage for an accessible restroom or failure to redirect a

                  person with a disability to the closest available accessible restroom facility in

                  violation of 2010 ADAAG §§216, 216.2, 216.6, 216.8, 603, 703, 703.1, 703.2,

                  703.5 and 703.7.2.1.

               h. Providing a gate or door with a continuous opening pressure of greater than 5lbs

                  exceeding the limits for a person with a disability in violation of 2010 ADAAG §§

                  404, 404.1, 404.2, 404.2.9, and 309.4.

               i. Failure to provide the proper spacing between a grab bar and an object projecting

                  out of the wall in violation of 2010 ADAAG §§609, 609.1 and 609.3.

               j. Failure to provide a dispenser in an accessible position (back wall or other

                  inaccessible place) so that it can be reached by a person with a disability in violation

                  of 2010 ADAAG §§606, 606.1, 308 and 308.2.2.

               k. Failure to provide proper toe clearance for a person with a disability under a counter

                  or sink element in violation of 2010 ADAAG §§306, 306.1, 306.2, 306.2.1, 606

                  and 606.2.

               l. Failure to provide proper knee clearance for a person with a disability under a

                  counter or sink element in violation of 2010 ADAAG §§306, 306.1 306.3, 606 and

                  606.2.

         34.      To the best of Plaintiff’s belief and knowledge, Defendant has failed to eliminate

  the specific violations set forth in paragraph 33 herein.




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          35.    Although Defendant is charged with having knowledge of the violations, Defendant

  may not have actual knowledge of said violations until this Complaint makes Defendant aware of

  same.

          36.    To date, the readily achievable barriers and other violations of the ADA still exist

  and have not been remedied or altered in such a way as to effectuate compliance with the

  provisions of the ADA.

          37.    As the owner, lessor, lessee or operator of the Premises, Defendant is required to

  comply with the ADA. To the extent the Premises, or portions thereof, existed and were occupied

  prior to January 26, 1992, the owner, lessor, lessee or operator has been under a continuing

  obligation to remove architectural barriers at the Premises where removal was readily achievable,

  as required by 28 C.F.R. §36.402.

          38.    To the extent the Premises, or portions thereof, were constructed for occupancy

  after January 26, 1993 the owner, lessor, lessee or operator of the Premises was under an obligation

  to design and construct such Premises such that they are readily accessible to and usable by

  individuals with disabilities, as required by 28 C.F.R. §36.401.

          39.    Plaintiff has retained the undersigned counsel for the filing and prosecution of this

  action. Plaintiff is entitled to have his reasonable attorneys’ fees, costs and expenses paid by

  Defendant, pursuant to 42 U.S.C. § 12205.

          40.    All of the above violations are readily achievable to modify in order to bring

  Premises or the Facility/Property into compliance with the ADA.

          41.    In instance(s) where the 2010 ADAAG standard does not apply, the 1991 ADAAG

  standard applies and all of the violations listed in paragraph 33 herein can be applied to the 1991

  ADAAG standards.




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         42.      Pursuant to 42 U.S.C. § 12188, this Court is vested with the authority to grant

  Plaintiff’s injunctive relief, including an order to alter the subject facility to make them readily

  accessible to and useable by individuals with disabilities to the extent required by the ADA and

  closing the Subject Facility until the requisite modifications are completed.

         WHEREFORE, Plaintiff demands judgment against Defendant and requests the following

  injunctive and declaratory relief:

               1. That this Court declares that Premises owned, operated and/or controlled by

                  Defendant are in violation of the ADA;

               2. That this Court enter an Order requiring Defendant to alter its facilities to make

                  them accessible to and usable by individuals with disabilities to the full extent

                  required by Title III of the ADA;

               3. That this Court enter an Order directing the Defendant to evaluate and neutralize

                  its policies, practices and procedures toward persons with disabilities, for such

                  reasonable time so as to allow the Defendant to undertake and complete corrective

                  procedures to Premises;

               4. That this Court award reasonable attorney’s fees, all costs (including, but not

                  limited to the court costs and expert fees) and other expenses of suit to the Plaintiff;

                  and,

               5. That this Court award such other and further relief as it may deem necessary, just

                  and proper.

                                            COUNT II
                                       BREACH OF CONTRACT

         39.      Plaintiff adopts and re-alleges the allegations stated in paragraphs 1 through 23

  above as if fully stated herein.



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         40.    On or about October 13, 2015, Plaintiff and Defendant entered into a Settlement

  Agreement. [Exhibit A] Through this settlement agreement, Defendants agreed to make

  modifications to Defendant’s Premises as outlined in the agreement. The Settlement Agreement

  required Defendant to complete all modifications, and provide notice of same to Plaintiff, by

  October 30, 2016.

         41.    Plaintiff has performed all conditions precedent to be performed by him under the

  Agreement.

         42.    Since October 30, 2016, Defendant has failed to complete the modifications

  promised in the settlement agreement. Specifically, Defendant has breached the Contract as

  follows by failing to perform the following modifications as noted in the following relevant

  portions of Section 6 of the Agreement titled Accessibility Enhancement:

  6.2. Palm Beach Gardens Store

         6.2.a. First Floor Men's Restroom of Palm Beach Gardens Store

         Saks shall make the following Accessibility Enhancements in the first floor men's restroom

         of the Palm Beach Gardens Store:

         1. In connection with the door to the restroom:

                a Rework the maneuvering clearance on the inside of the restroom or install a power

                assisted door opener in compliance with ADAAG §§ 404.2.4.1, 404.3.2.

                b. Provide an opening force not to exceed 5 lbs. of pressure in compliance with

                ADAAG § 404.2.9.

         2. In connection with the accessible toilet stall:

                d. Insulate the sink bottom supply, drain pipes and valves in compliance with

  ADAAG § 606.5.




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        6.2.b. Second Floor Men's Restroom of Palm Beach Gardens Store

        Saks shall make the following Accessibility Enhancements in the second floor men's

        restroom of the Palm Beach Gardens Store:

        1. In connection with the door to the restroom, provide an opening force not to exceed 5

        lbs. of pressure in compliance with ADAAG § 404.2.9.

        2. In connection with the accessible toilet stall:

                 d. Insulate the sink bottom supply, drain pipes and valves in compliance with

                 ADAAG § 606.5.

  6.3. Boca Raton Store

        6.3.a. First Floor Men's Restroom of Boca Raton Store

        Saks shall make the following Accessibility Enhancements in the first floor men's restroom

        of the Boca Raton Store:

        1. In connection with the outside of the restroom, provide signage in compliance with

        ADAAG § 703.4.1.

        2. In connection with the accessible toilet stall:

                 a. Relocate the grab bars in compliance with ADAAG § 604.5.

                 b. Insulate the sink bottom supply, drain pipes and valves in compliance with

                 ADAAG § 606.5.

        3. In connection with the accessible urinal, relocate height in compliance with ADAAG §

        605.2.




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  6.4. Bal Harbour Store

          6.4.a. First Floor Men's Restroom of Bal Harbour Store

          Saks shall make the following Accessibility Enhancements in the first floor men's restroom

          of the Bal Harbour Store:

          2. In connection with the accessible toilet stall:

          b. Relocate the rear grab bar in compliance with ADAAG § 604.5.

          3. In connection with the urinals:

          Provide an accessible urinal in compliance with ADAAG §§ 305.7.1, 605.2.

          6.4.b. Second Floor Family Restroom of Bal Harbour Store

          Saks shall make the following Accessibility Enhancements in the second floor family

          restroom of the Bal Harbor Store:

          1. In connection with the outside of the restroom, provide signage in compliance

          with ADAAG § 703.4.1.

          2. In connection with the accessible toilet:

                  c. Reconfigure the sink apron in compliance with ADAAG §§ 306.2, 606.2.

          43.     To the best of Plaintiff’s belief and knowledge, Defendant has failed to eliminate

  the specific violations set forth in paragraph 42 herein.

          44.     Plaintiff has been damaged by the Defendant’s breach of the settlement agreement.

  Specifically, Plaintiff has had to retain the services of the undersigned attorney to pursue this action

  for breach of contract.

          WHEREFORE, Plaintiff demands judgment against Defendant and requests the following

  injunctive and declaratory relief:




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           1. That this Court declares that Defendant has failed to comply with the Settlement

               Agreement;

           2. That this Court enter an Order requiring Defendant to alter its facilities to make

               them accessible to and usable by individuals with disabilities to the full extent

               required by Title III of the ADA;

           3. That this Court award reasonable attorney’s fees, all costs (including, but not

               limited to the court costs and expert fees) and other expenses of suit to the Plaintiff

               and as provided in the Settlement Agreement; and,

           4. That this Court award such other and further relief as it may deem necessary, just

               and proper.

        Dated January 17, 2020.

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